8:10-cr-00449-RFR-MDN    Doc # 100   Filed: 08/11/11    Page 1 of 1 - Page ID # 298



               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:10CR449
                              )
          v.                  )
                              )
ANDREA CARLSON,               )                        ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

to extend time to file objections to the presentence

investigation report (Filing No. 99).          The Court finds the motion

should be granted.      Accordingly,

           IT IS ORDERED that defendant’s motion is granted;

defendant shall have until August 12, 2011, to submit objections

to the presentence investigation report.

           DATED this 11th day of August, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
